861 F.2d 267Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John WEST, Plaintiff-Appellant,v.Patricia SCHUPPLE, Assistant Warden;  Larry Allen,Defendants-Appellees.
    No. 87-7716.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Sept. 16, 1988.Decided:  Oct. 7, 1988.
    
      John West, appellant pro se.
      Karen Stakem Hornig, Mark Disbrow McCurdy (Office of the Attorney General of Maryland), for appellees.
      Before DONALD RUSSELL, JAMES DICKSON PHILLIPS and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      John West appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  West v. Schupple, C/A No. 85-928-HM (D.Md. Sept. 2, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    